           Case 1:21-cr-00327-RC Document 17 Filed 04/08/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                        §
                                                    §
    V.                                              §        CASE No. 21-MJ-236
                                                    §
    LUKE RUSSELL COFFEE                             §


                   OPPOSITION TO MOTION FOR TRANSPORT ORDER

TO THE HONORABLE JUDGE BERYL A. HOWELL OF SAID COURT:

         COMES NOW, LUKE COFFE RUSSELL, the Defendant in the above styled

and numbered cause, and moves the Court to the Government Motion for Transport

Order the Government to and for cause would show the Court as follows:

                                               I.

.

The Magistrates Hearing was fairly and correctly conducted. The Motion for Transport
Order shall not be granted because the Magistrate determined that the Record was very clear that
the Government presented no evidence (compelling or non-compelling) that defendant is a
danger to the community, witnesses, or anyone and the Government presented no evidence
(compelling or non-compelling) that defendant is a serious flight risk.

The Government would have no legal basis to challenge Judge’s decision if it tried to file an
Appeal.

The Motion for Transport Order shall not be granted because the Government would have no
legal basis to challenge Judge’s decision if it tried to file an Appeal. That is why the Magistrate
had no problem Granting Release because the Magistrate was presented no evidence by the
Government to rule otherwise. Although the Government met its initial burden that there is
probable cause for the charges by constantly replaying one very short and limited video, this was
a Pretrial Release Hearing reviewing whether the defendant was dangerous to the community or
a serious flight risk. The Government failed to produce any evident of either.

The Motion for Transport Order is premature.
           Case 1:21-cr-00327-RC Document 17 Filed 04/08/21 Page 2 of 3




The Motion for Transport Order should not be granted as premature to the decision of the Court
of how to proceed. The Motion for Transport Order to move defendant from his present
detention is not necessary and is premature until Court decides how it wishes to proceed. There
is a very good chance that the Court will review the Record and agree with the Magistrate that
the Government did not meet its burden of proof that defendant was dangerous to the community
or a serious flight risk.

The Government Failed to Meet it Burden. The Motion for Transport Order shall not be
granted because the Government failed to prove that Luke Coffee was a flight risk or a danger to
any person or the community. Luke Coffee has never been a violent man and has never
committed any violent offense prior to the alleged assault on January 6, 2021.
There is no emergency in this case so Counsel requests 30 days to prepare for a hearing
before the Court on the Motion to Transport Order.
The Motion for Transport Order shall not be granted because there is no emergency or urgency
to make a decision on the Review of another Magistrate. The Defendant is in detention and his
presence is not required until the Court decides how to proceed. The defense requests 30 days to
prepare for a hearing before the Court on this matter.



                                                 II.
The Defendant opposes to the Motion to Transport. The Defendant and the Defendant’s Attorney
reside in Dallas, Texas. Both pre-trial services in Northern District of Texas and the presiding
Magistrate Judge did not believe that the Defendant, Luke Coffee is a flight risk or a danger to
the public.
The transport of the Defendant would be a waste of judicial resources, USMS resources, and tax-
payer resources to transport the Defendant at that time as these issues have yet to be
resolved. Magistrate Judge Horan released the Defendant subject to certain conditions, including
electronic monitoring. See the Order Setting the Conditions of Release signed by Magistrate
Judge Horan, document number 9.


                                               III.
The Defendant, requests that the magistrate judge’s decision to transport the defendant be upheld
and the motion for transport and review of release order be denied.


WHEREFORE, PREMISES CONSIDERED, the Defendant pray that his motion be in all things

granted.


Respectfully submitted,
          Case 1:21-cr-00327-RC Document 17 Filed 04/08/21 Page 3 of 3




/s/ Jim Burnham
Jim Burnham
State Bar No. 0344100
6116 N. Central Expwy., Ste. 515
Dallas, Texas 75206
Telephone (214) 750-6616
Facsimile (214) 750-6649
Email: Jim@Jburnhamlaw.com
